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 3   Telephone: (916) 442-5230
 4   Attorney for:
     MAISHA PEARL JONES
 5
 6
 7                    IN THE UNITED STATES DISTRICT COURT
 8                  FOR THE EASTERN DISTRICT OF CALIFORNIA
 9
10   UNITED STATES OF AMERICA,        )   NO. CR.S-08-0145 FCD
                                      )
11                  Plaintiff,        )   STIPULATION AND ORDER CONTINUING
                                      )   CHANGE-OF-PLEA AND EXCLUDING TIME
12        v.                          )
                                      )
13
     MAISHA PEARL JONES,           )      DATE:     March 23, 2009
14                                 )      TIME:     10:00 a.m.
                    Defendant.     )      COURT:    Hon. Frank C. Damrell, Jr.
15   ______________________________)
16
                              STIPULATION AND ORDER
17
          The parties, through undersigned counsel, stipulate that the
18
     change of plea, of defendant Maisha Pearl Jones, scheduled for March
19
     23, 2009, may be continued to April 6, 2009, at 10:00 a.m.            On March
20
     23, 2009, defense counsel for Maisha Jones will be assigned to a jury
21
     trial in state court in the matter of the People v. Montell Deshay,
22
     et. al., (California Superior Court, County of Sacramento, case no.
23
     08F00779) and will be unable to attend the change of plea now
24
     scheduled for that same date.        It is important that counsel for
25
     defendant be present when she enters her change-of-plea in order to
26
     provide her assistance and advice of counsel.         So, the parties also
27
     agree that time may be excluded under the Speedy Trial Act for defense
28

                                          1
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 1   counsel preparation, pursuant to 18 U.S.C. § 3161(h)(8)(B)(iv), Local
 2   Code T4.
 3        The prosecutor has authorized the defense counsel for Maisha
 4   Jones to sign this stipulation on his behalf.
 5
 6   DATED: March 20, 2009                      LAWRENCE G. BROWN
                                                Acting United States Attorney
 7
 8                                    by        /s/ Scott Cameron, for
                                                Russell Carlberg
 9                                              Assistant U.S. Attorney
10
     DATED: March 20, 2009
11                                    by        /s/ Scott Cameron
                                                Scott Cameron
12                                              Counsel for Maisha Jones
13
14                                      ORDER
15        Good cause appearing,
16        The change of plea of Maisha Jones, scheduled for March 23, 2009,
17   is continued to April 6, 2009, at 10:00 a.m.
18        Time is excluded from the speedy trial calculation pursuant to 18
19   U.S.C. § 3161(h)(8)(B)(iv) and Local Code T4 for counsel preparation
20   through and including April 6, 2009.
21        IT IS SO ORDERED.
22
23   DATED: March 20, 2009
24                                         _______________________________________
                                           FRANK C. DAMRELL, JR.
25                                         UNITED STATES DISTRICT JUDGE

26
27
28

                                            2
